     LAW OFFICE OF WILLIAM J. HEALY.
 1   WILLIAM J. HEALY, #146158
     748 Holbrook Pl
 2   Sunnyvale, CA 94087
     Telephone: (408) 373-4680
 3
     ATTORNEYS FOR
 4   Samuel Engineering, Inc.
 5                               UNITED STATES BANKRUPTCY COURT
 6                               NORTHERN DISTRICT OF CALIFORNIA
 7                                          (San Francisco Division)
 8      In re:                                        ) Case No. 19-30088 (DM)
                                                      )
 9      PG&E CORPORATION                              )       CHAPTER 11
                                                      )
10           -and-                                    )      (Lead Case)(Jointly Administered)
                                                      )
11      PACFIC GAS AND ELECTRIC                       ) CERTIFICATE OF SERVICE
        COMPANY,                                      )
12                                                    )
                                                      )
13                             Debtors.               )
                                                      )
14                                                    )
        □ Affects PG&E Corporation                    )
15      □ Affects Pacific Gas and Electric            )
        Company X Affects both Debtors                )
16      * All papers shall be filed in the Lead       )
        Case, No. 19-30088 (DM).                      )
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18
             I am a citizen of the United States, over the age of 18 years, and not a party to or interested in
19   the within entitled cause. I am a principal of the law Office of William J. Healy and my business
     address is 748 Holbrook Pl, Sunnyvale, CA 94087. I am readily familiar with the business practice
20   for collection and processing of correspondence for mailing and for transmitting documents by U.S.
     Mail, FedEx, fax, email, courier and other modes. On September 7, 2020, I served the following
21   document:
22          • SAMUEL ENGINEERING, INC.’S STATEMENT OF NON-OPPOSITION AND
             RESERVATION OF RIGHTS RE REORGANIZED DEBTORS’ FIFTH OMNIBUS
23           OBJECTION TO CLAIMS
24
     _X_ ELECTRONICALLY: I hereby certify that on the below date, I electronically filed the
25
     foregoing with the Clerk of the Court using the CM/ECF system which will send notification of such
26
     filing to the e-mail addresses denoted on the Electronic mail notice list.
27
28 _X_ BY MAIL: by placing (___ the original) (_x_ a true copy) thereof enclosed in a sealed
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                                        of 2
     envelope, addressed as set forth below, and placing the envelope for collection and mailing
 1
 2   following my firm’s ordinary business practices, which are that on the same day correspondence is

 3   placed for collection and mailing, it is deposited in the ordinary course of business with the United
 4   States Postal Service in Sunnyvale, California, with postage fully prepaid.
 5
     Attorneys for Debtors and Reorganized Debtors
 6   Keller Benvenutti Kim LLP
     Tobias S. Keller
 7   Peter J. Benvenutti
     Jane Kim
 8
     650 California Street, Suite 1900
 9   San Francisco, CA 94108

10   Office of the U.S. Trustee / San Francisco
     Timothy S. Laffredi Office of the U.S. Trustee San Jose
11
     280 South 1 St., Suite 268
12   San Jose, CA 95113

13   I declare under penalty of perjury under the laws of the United States of America that the foregoing
14   is true and correct and that this declaration was executed on September 7, 2020, in Sunnyvale,
15
     California.
16
                                              /s/ William J. Healy
17
                                              William J. Healy
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